






In The



Court of Appeals



Ninth District of Texas at Beaumont



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NO. 09-06-268 CR


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EX PARTE LIONEL COLEMAN






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause Nos. 2107 (96048)






     MEMORANDUM OPINION 


	On May 10, 2006, the trial court denied Lionel Coleman's application for writ of
habeas corpus without conducting an evidentiary hearing or issuing the writ of habeas
corpus.  We questioned our jurisdiction over the appeal.  Coleman filed a response in which
he concedes the trial court did not rule on the merits of his application for writ of habeas
corpus.

	No appeal lies from the refusal to issue writ of habeas corpus unless the trial court
conducts an evidentiary hearing on the merits of the application.  Ex parte Hargett, 819
S.W.2d 866 (Tex. Crim. App. 1991); Noe v. State, 646 S.W.2d 230 (Tex. Crim. App. 1983). 
In this case, the trial court did not address the merits of Coleman's petition.  The trial court
did not issue a writ of habeas corpus, nor did the court conduct an evidentiary hearing on the
application for the writ.  Compare Ex parte Silva, 968 S.W.2d 367 (Tex. Crim. App. 1998);
Ex parte McCullough, 966 S.W.2d 529 (Tex. Crim. App. 1998).  We hold we have no
jurisdiction over this appeal.  Accordingly, it is ordered that the appeal be dismissed for want
of jurisdiction.

	APPEAL DISMISSED.


								___________________________

									HOLLIS HORTON

									           Justice  


Opinion Delivered August 9, 2006 

Do Not Publish

Before McKeithen, C.J., Gaultney and Horton, JJ.


